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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                         No. CR-18-00464-001-PHX-DJH
10                  Plaintiff,                         ORDER
11   v.
12   Carl Allen Ferrer,
13                  Defendant.
14
15          The Government and third-party Petitioners Lacey, Larkin, Brunst, Spear, Padilla,
16   Vaught, Medalist Holdings, Inc., Leeward Holdings, LLC, Camarillo Holdings, LLC,

17   Vermillion Holdings, LLC, Cereus Properties, LLC, and Shearwater Investments, LLC, by
18   and through their respective counsel of record, filed a Stipulation (Doc. 129) for an order

19   staying the Ancillary Proceedings (Docs. 29-41, 58, 114) until the conclusion of any trial

20   in the related criminal matter captioned United States v. Michael Lacey, et al., CR-18-
21   0422-PHX-DJH. The court granted a mistrial in Lacey, but denied a motion to dismiss
22   with prejudice, which the defendants have appealed (Ninth Circuit Case No. 22-10000).

23   Retrial has been continued until resolution of such interlocutory appeal.

24          Responses were due by March 30, 2022, and none have been filed.

25          The Court finds the parties have demonstrated sufficient good cause for a stay of

26   the Ancillary Proceedings.
27        IT IS THEREFORE ORDERED:
28   (A) The reference to the magistrate judge of the Stipulation to Stay Ancillary Proceedings
 1       (Doc. 129) is WITHDRAWN.
 2   (B) The Stipulation to Stay Ancillary Proceedings (Doc. 129) is GRANTED to the extent
 3       of the relief provided herein.
 4   (C) With the exception of Petitioner April Ferrer’s Third Party Petition (Doc. 58) and
 5       Stipulated Motion to Withdraw (Doc. 114) and the Report and Recommendation
 6       thereon (Doc. 127), the Ancillary Proceedings in this action are STAYED until the
 7       conclusion of a reset trial or other final disposition in Lacey, CR-18-0422-PHX-DJH.
 8   (D) The following deadlines in the scheduling Order filed February 18, 2022 (Doc. 126)
 9       are VACATED: (1) motions to dismiss any Third Party Petition for lack of standing,
10       etc.; (2) motions for discovery; completion of discovery; and (3) motions for summary
11       judgment. In all other respects, that scheduling Order remains in effect.
12   (E) Movants Lacey, Larkin, Brunst, and Spear shall not seek, before the conclusion of a
13       reset trial or other final disposition in Lacey, CR-18-0422-PHX-DJH, the release of
14       any assets subject to the preliminary orders of forfeiture in this action, e.g. through a
15       Monsanto proceeding in Lacey, CR-18-0422-PHX-DJH or a motion for release of
16       only those assets in C.D. Cal. Case No. 18-cv-8420-RGK.
17       Dated this 12th day of April, 2022.
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20                                                Honorable Diane J. Humetewa
21                                                United States District Judge

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